      Case 5:19-cr-40107-HLT-ADM Document 1 Filed 12/11/19 Page 1 of 2




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           UNITED STATES DISTRICT COURT
                            DISTRICT OF KANSAS
UNITED STATES OF AMERICA,
             PLAINTIFF,

vs.                                                            19-40107-HLT
                                                     CASE NO. ___________

MARIA MAGDALENA LEMUS-
GODOY,
            DEFENDANT.

                           SEALED INDICTMENT
THE GRAND JURY CHARGES:

                                      COUNT 1

                               21 U.S.C. § 841(a)(1)
         (Possession with the Intent to Distribute a Controlled Substance)

      On or about September 15, 2019, in the District of Kansas, the defendant,

                    MARIA MAGDALENA LEMUS-GODOY,

knowingly and intentionally possessed with the intent to distribute 1 kilogram or

more of a mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance in violation of Title 21, United States Code, Section

841(a)(1), with reference to Title 21, United States Code, Section 841(b)(1)(A), and

Title 18, United States Code, Section 2.

                                               A TRUE BILL.

December 11, 2019                               s/Foreperson
DATE                                           FOREPERSON OF THE GRAND JURY



                                           1
      Case 5:19-cr-40107-HLT-ADM Document 1 Filed 12/11/19 Page 2 of 2




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[It is requested that trial be held in Topeka, Kansas.]

                                     PENALTIES

COUNT 1

Punishable by a term of imprisonment of not less than 10 years nor more than life,
a fine of not more than $10,000,000, supervised release of not less than 5 years, and
a $100 special assessment per count of conviction. 21 U.S.C. § 841(b)(1)(A), 18
U.S.C. § 3013(a)(2)(A).




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